Case 2:05-cr-20252-BBD Document 21 Filed 07/20/05 Page 1 of 2 Page|D 23

IN THE UNITED sTArEs DlsTRlCT coURT F‘*»f‘-U H\'FEEL e.e.
son THE WESTERN Drsrchr oF TENNESSEE

 

 
 

wESTERN DIVISIoN 95 JUL 20 AH l I= 26
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UNITED sTA'rEs oF AMERICA m§§r l , _ `L;}$PCJIOUHT
that .}." .-f¢, -'*=’;"L_,-,;; l
v.

05-20252-04-D
DANNY ADAMS

ORDER ON ARRAIGNMENT

/"
This cause came to be heard on Q,f,bé¢/) 49'2 0, 300 ~> , the United States Attorney

for this district appeared on behalf of the gdernme£l, and the defendant appeared in person and with
counsel:

NAME 7'Vlv1 . ~.¢1¢/»;,,¢¢5/

who is Retainedeppointed.

 

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (3 0) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

/The defendant, who is not in custody, may stand on his present bond.

The defendant, (not having made bond) (being a state pri soner) (being a federal prisoner)
(being held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

UNITED STATES MAGISTRATE .TUDGE
CHARGES: 18:1343 & 2;

U. S. Attorney assigned to Case: C. McMullen

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UNITED sATE DISTRICT COURT - WTERN DISTRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number 21 in
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FPD

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Camille Reese Mcl\/lullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

